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AO 187 (Rev. 7/87) Witness List
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                                           United States District Court
                                       SOUTHERN DISTRICT OF FLORIDA


              UNITED STATES OF AMERICA
                                  V.                     GOVERNMENT WITNESS LIST
                  CHUNZAI WANG


                                                          CASE NUMBER: 17-20449-CR-ALTONAGA


    PRESIDING JUDGE                     DEFENDANT'S ATTORNEY              PLAINTIFF'S ATTORNEY
    HON. CECILIA ALTONAGA               PETER ZIEDENBERG Esq.             MICHAEL WALLEISA AUSA


    TRIAL DATES                         COURT REPORTER                    COURTROOM DEPUTY
          February 20, 2018
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